                                   Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 1 of 29
,CJs-aa cRe~>>ioa~                                    CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of
initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
I. (a)    PLAINTIFFS                                                                                    DEFENDANTS

          Joseph Manni                                                                                  Asset Acceptance, LLC and Midland Funding, LLC

  (q)     County of Residence of First Listed                  Montgomery County                                                                              Warren, MI
                                                                                                        County of Residence of First Listed Defendant
          Plaintiff
                                   (EXCEPT M U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                               NOTE: IN LAND CONDEMNATION CASES, US6 THE LOCATION OF THE
                                                                                                                    LAND INVOLVED.


~C)       Attorneys (Finn Name, Address, and Telephone Number)                                          Attorneys (If Known)

          Vicki Piontek, Esq. - 951 Allentown Road, Lansdale, PA 19446                                  Lawrence J. Bartel, Esquire, 2000 Market Street, Suite 2300, Philadelphia, PA
          877-737-8617                                                                                  19103
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place An "X" in one Box for Plaintiff and
                                                                                                    (For Diversity Cases Only)                               One Box for Defendant)
q L U.S. Government                  ~ 3. Federal Question                                                                    PTF      DEF                                      PTF        DEr
       Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State         ❑1      ❑1    Incorporated or Principal Place    p4         ❑4
                                                                                                                                             of Business in This State

p 2. U.S. Government                 ❑ Q. Diversity                                              Citizen of Another           O2       ❑2    Incorporated and Principal Place    ❑5         Q5
        Defendant                                                                                State                                       of Business in Another State
                                        (Indicates Citizenship of Parties in Item III)
                                                                                                                              ❑3       ❑3    Foreign Nation                      ❑6         ❑6
                                                                                                 Citizen of Subject of a
                                                                                                 Foreign Country
IV. NATURE OF SUIT Place an "X" in One Rox Onlvl
         COn`TRAC"T                                           'I'OR'LS.                                  FORFEI"PURE/PENALTY                 BANKRUPTCY                  01'IIERSTA'I'U"1'tiS

❑ 110 Insurance                       PERSONAL INJURY                 PERSONAL INJURY                   ❑ 610 Apiculture                ❑ 422 Appeal 28 USC 158       ❑ 400 State Reapportionment
❑ 120 Marine                         ❑ 310 Airplane                 Q 362 Personal Injury —             ❑ 620 Other Food & Dntg         ❑ 423 Withdrawal              p 410 Antitrust
❑ 130 Miller Act                     ❑ 315 Airplane Product               Med Malpractice               ❑ 625 Dnzg Related Seizure             28 USC 157             ❑ 430 Banks and Banking
  140 Negotiable Instrtunenl                Liability               ❑ 3G5 Personal Injury —                   of Property 21 USC 881                                  q 450 Commerce.
❑ 150 Recovery of Overpayment        ❑ 320 Assault, Libel &                Product Liability            ❑ 630 Liquor Laws                PRbPERTY CtIGHTS          `' ❑ 460 Deportation
    & Enforcement of Judgment               Slander                 ❑ 368 Asbestos Personal             p 640 R.R & Tnick               ❑ 820 Copyrights              ❑ 470 Racketeer Influenced am
❑ 151 Medicare Act                   ❑ 330 Federal                         Injury Product               ❑ 650 Airline Regs              ❑ g30 Patent                          Coinipt Organizations
p 152 Recovery of Defaulted          Employers'                            Liability                    ❑ 660 Occupational              p g40 Trademark               ~ 480 Consumer Credit
        Student Loans                       Liability                PERSONAL PROPERTY                         Safety/Health                                          q 490 Cable/Sat TV
       (6xcl. Veterans)              ❑ 340 Maine                    ❑ 370 Other Fraud                   ❑ 690 Other                                                   ❑ 810 Selective Service
O 153 Recovery of Overpayment        ❑ 3A5 Marine Product           ❑ 371 Truth in Lending                        I,AI3QR                 SOCL~I, SECIJRT`CY          ❑ 850 Seeimties/Commodities/
       of Veteran's Benefits.               Liability               ❑ 380 Other Personal                q 7~0 Fair Labor Standards      p 861 HIA (1395f~                    Exchange
p 160 Stockholder's Suits            ❑ 350 Motor Vehicle                   Property Damage                      Act                     ❑ 862 Black Lung (923)        ❑ 8~ 5 Customer Challenge
p 190 Other Contract                 ❑ 355 Motor Vehicle            ❑ 385 Property Damage               p '720 Labor/Mgmt. Relations    ❑ 863 DIWC/DIWW                       12 USC 3410
❑ 195 Contract Product Liability            Product Liability              Product Liability            p 730 Labor/M~nt. Reporting     (405(8))                      ❑ 890 Other Statutory Actions
❑ 195 Franchise                      ❑ 360 Other Personal                                                       &Disclosure Act         ❑ 864 SSID Title XVI          ❑ 891 A~•icultural Acts
                                            Injury                                                      ❑ 740 Railway Labor Act         ❑ 865 RSI (405( ))            ❑ 892 Economic Stabilization Ac
                                                                                                        ❑ 790 Other Labor Litigation     FEDERAL T'AX ~UI7'S          ❑ 893 Enviroivnental Matters
     12Gt#L PROPERTY                     C[VIL RIGHTS               PR150NER~'E'1'17'IONS               ❑X91 Empl. Ret. Inc.            ❑ 870 Taxes (U.S.             ❑ g94 Energy Allocation Act
                                                                                                                Security Act            Plaintiff                     ❑ 895 Freedom of Information
Q 210 Land Condemnation              q 441 Voting                   ❑ 510 Motions to Vacate
                                                                                                                                                                              Act
❑ 220 Foreclosure                    ❑ 442 Employment                      Sentence                                                              or Defendant)
                                                                                                                                        ❑ 871 IRS —Third Party        C1 900 Appeal of FeeDetenninado~
❑ 230 Rent, Lease & Gjectuient       ❑ 443 Housing /                  Habeas Corpus
                                                                                                                                                                              Under Equal Access
p 240 'torts to Land                        Accommodations          ❑ 530 General                                                                26 USC 7609
                                                                                                                                                                               to Justice
❑ 245 Tort Product Liability         ❑ 444 Welfare                  p 535 Death Penalty
                                                                                                                                                                      ❑ 950 Constitutionality of
p 290 All Other Real Property        ❑ 445 Amer.                    ❑ 540 Mandamus &Other
                                                                                                                                                                               State Stahrtes
                                     w/Disabilities—                q 550 Civil Rights
                                                Employment          ❑ 555 Prison Condition
                                     ❑ 446 Amer.
                                     w/Disabilities—
                                               Other
                                     ❑ 440 Other Civil Ri hts
V. ORIGIN             (Place an "X" in One Box Only)                                                                                               to District                                           I
~~       Original       ~2       Removed from        ❑3         Remanded from            ❑4        Reinstated or
                                                                                                Transferred from ❑ 6  ❑5    Multidistrict ❑7       ~e from
         Proceeding              State Court                    Appellate Court                    Reopened
                                                                                                another district            Litigation
                                                                                                (specify)
                     Cite the U.S. Civil Statute under which you are fi ng (Do not cite jurisdictional statutes unless diversity):
                     47 U.S.C. § 227, et se . and IS U.S.C. § 1692, et
VI. CAUSE OF ACTION
                     Brief descr~pt~on of cause:
                     Fair Debt Collection Practices Act
VII. REQUESTED IN   ~ CHECK IF THIS IS A CLASS ACTION                DEMAND $        14,751                CHECK YES only if demanded in complaint:
     COMPLAINT:        UNDER F.R.C.P. 23                                                                   JURY DEMAND: ❑Yes               ~ No
VIII. RELATED CASES)
                       LSee instructions)   JUDGE                                                        DOCKET NUMBER
     IF ANY
DATE                                                                        SIGNA        RE OF ATTORNEY OF RECORD
            January 8, 2015                                                                               ~ . r~~~
                                                                                  ~} 1 ~ n o..,~, i°.                  n
rOR OrFICE USE ONLY                                                                                      (/

RECEIPT #                            AMOUNT                               APPLYING IFP                                JUDGE                               MAG. NDGE
                             Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 2 of 29
                                                                   UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DF,SIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
 assignment to appropriate calendar.

 Address Of PI1itltlff: Joseph Manni c/o Vicki Piontek, Esq. -Davis Consumer Law Finn, 9Sl Allentown Road, Lansdale PA 19446 1-877-737-8617


 Address of Defendant; Asset Acceptance, LLC and Midland Funding, LLC c/o Lawrence J. Bartel, Esquire 2000 Market Street, Suite 2300 Philadelphia, PA 19103


 Place of Accident, Incident or Transaction: MomBomery Counry, Pennsylvania
                                                                         (Use Reverse Side ForAdditionul Space)

 Does this civil action involve a nongovernmental corporate party with any parent corporation and any puUlicly held corporation owning 10% or more of its stock?
   (Attach two copies ofthe Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a))                                                   Yes a No


 Does this case involve multidistrict litigation possibilities?                                                                                 Yes ~ No ~✓
 RELATED CASE, IF' ANY:
 Case Number:                                           Judge                                                    Date Terminated:

 Civil cases are deemed related when yes is answered to any of the following questions:

    Is this case related to property included in an earlier numUered suit pending or within one year previously terminated action in this court?

                                                                                                                                  Yes ~ No ~✓
    Does this case involve the sTme issue of fact or grow out of the same transaction as a prior suit pending or witl~iu one year previously terminated
    action in this courC?

                                                                                                                                  Yes ~ No ~✓
    Does this case involve tlic validity or infringement of a patent already in suit or any earlier numUered case pending or within one year previously
    terminated action in this court?                                                                                                           Yes ~ No n✓

 4. 1s this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

                                                                                                                                               Yes ~ No ❑✓

 CIVIL: (Place ✓ in ONE CA'T'EGORY ONLY)
 A. Federal Qa~estion Cases:                                                                                        B. Diversity Jtu•isdiction Cases:
 1. C] Indemnity Contract, Marine Contract, and All Other Contracts                                                 1. ❑Insurance Contract and Other Conh•acts
 2. ❑ FELA                                                                                                          2. ❑Airplane Personal Injury
 3. ❑Jones Act-Personal Injury                                                                                      3. ❑Assault, Defamation
 4. ❑Antitrust                                                                                                      4. ❑Marine Personal Injury
 5. ❑Patent                                                                                                         5. ❑Motor Vehicle Personal Injury
 6. ❑Labor-Management Relations                                                                                     6. ❑Other Personal Injury
                                                                                                                                                       (Please specify)

 7. ❑Civil Rights                                                                                                   7. ~ Products Liability
 8. ❑Habeas Corpus                                                                                                  8. [~ Products Liability —Asbestos
 9. ❑Securities Acts) Cases                                                                                         9. ~ All other Diversity Cases
10.[~ Social Security Review Cases                                                                                                                     (Please specify)
 11.❑✓ All other Federal Question Cases
          (Please specify)
                                                                        ARBITRATION CERTIFICATION
                                                                        (Check Appropriate Category)
I Lawrence J. Bartel                                        ,counsel of record do hereby certify:
     Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
      Relief other than monetary damages is sought.

DATE• January 8, 2015                                                                                                                         94006

                                                           Attorney- -L,aw                                                         Attorney I.D.#
                                           NOTE: Atrial de novo will be a trial byjury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE: January 8, 2014                                                                                                                         94006

                                                                Attorney-at aw                                                                     Attorney I.D,#
CIV. 609 (6/08)
                Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 3 of 29
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM
JOSEPH MANNI                                       o                 CIVIL ACTION


                         ►~

ASSET ACCEPTANCE, LLC ET AL.                                            NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff .shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.


SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)      Habeas Corpus-Cases brought under 28 U.S.C. §2241 through §2255.                           ( )

(b)      Social Security-Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                             ( )

(c)       Arbitration-Cases require to be designated for arbitration under Local Civil Rule 53.2.   (X)

(d)       Asbestos-Cases involving claims for personal injury or property damage from
          exposure to asbestos.                                                                     ( )

(e)       Special Management-Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side of this form for a detailed explanation of special
          management cases.)                                                                        ( )

(~        Standard Management--Cases that do not fall into any one of the other tracks.             ( )


                                                                            Defendants, Asset
                                                                          Acceptance, LLC and
 January 8, 2015                         ~'C~,~~_ ~, ~                    Midland Funding, LLC
 Date                                       Attorney-at-law                    Attorney for
                                           Lawrence J. Bartel,
                                                Esquire.

                                                                          L~bartel emdwcg com
 (215) 575-2780                              (215) 575-0856
 Telephone                                    FAX.Number                      E-Mail Address

(Civ.660) 10/02
551629
       Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 4 of 29


                                                                                                     APPENDIX G

                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

Joseph Manni

               1~~                                                                   Civil Action
                                                                                     No:
MIDLAND FUNDING, LLC et al.

                                DISCLOSURE STATEMENT FORM

Please check one box:

               The nongovernmental corporate party,
                in the above listed civil action does not have any parent corporation and
               publicly held corporation that owns 10% or more of its stock.

               The nongovernmental corporate party, MIDLAND FUNDING, LLC
                in the above listed civil action has the following parent corporations) and
               publicly held corporations) that owns 10% or more of its stock:

               Encore Capital Group, Inc., apublicly-traded corporation, owns 10% or more of Midland Funding, LLC's stock




  Y      I~                                                                      )             f
         ate                                                            Signature

                                 Counsel for: MIDLAND FUNDING, LLC


Federal Rule of Civil Procedure 7.1 Disclosure Statement
     (a)    WHO MUST FILE; CONTENTS. A tlOtlgOVG't"t1I118t1tal COI'pOCatG' pat'~y I?IUSt fIIB
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning1Q% or more of its stock; or

               (2)     states that there is no such corporation.

       (b) TinnE To Fi~~; SUPPLEMENTAL FILING. A pal"ty t1lUSt:
               (1)    file the disclosure statement with its first appearance, pleading,
                      petition, motion, response, or other request addressed to the court;
                      and
               (2)    promptly file a supplemental statement if any required information
                      changes.
       Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 5 of 29


                                                                                                    APPENDIX G

                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

Joseph Manni

              V.                                                                  Civil Action
MIDLAND FUNDING, LLC et al.                                                      NO'

                               DISCLOSURE STATEMENT FORM

Please check one box:

              The nongovernmental corporate party,
               in the above listed civil action does not have any parent corporation and
              publicly held corporation that owns 10% or more of its stock.

              The nongovernmental corporate party, MIDLAND FUNDING, LLC
               in the above listed civil action has the following parent corporations) and
              publicly held corporations) that owns 10% or more of its stock:

              Encore Capital Group, Inc., apublicly-traded corporation, owns 10% or more of Midland Funding, LLC's stock




        j~
        ate                                                            Sigr1'ature

                                Counsel for: MIDLAND FUNDING, LLC


Federal Rule of Civil Procedure 7.1 Disclosure Statement
     (a)    WHO MUST FILE; CoNT~rvTs. A nongovernmental corporate party must file
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning10% or more of its stock; or

              (2)     states that there is no such corporation.

      (b) TinnE To Fi~E; SUPPLEMENTAL FILING. A pa1~y fllUSt:
              (1)    file the disclosure statement with its first appearance, pleading,
                     petition, motion, response, or other request addressed to the court;
                     and
              (2)    promptly file a supplemental statement if any required information
                     changes.
       Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 6 of 29


                                                                                                    APPENDIX G

                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

Joseph Manni

              V.                                                                  Civil Action
Asset Acceptance, LLC et al.                                                      Np'

                               DISCLOSURE STATEMENT FORM

Please check one box:

              The nongovernmental corporate party,
               in the above listed civil action does not have any parent corporation and
              publicly held corporation that owns 10% or more of its stock.

              The nongovernmental corporate party,                    Asset Acceptance, LLC
               in the above listed civil action has the following parent corporations) and
              publicly held corporations) that owns 10% or more of its stock:

              Encore Capital Group, Inc., apublicly-traded corporation, owns 10% or more of Midland Funding, lLC's stock




         5                                                      C~~Gc~c1
        ate                                                         Sign ure

                                Counsel for: Asset Acceptance, LLC


Federal Rule of Civil Procedure ?.1 Disclosure Statement
     (a)    WHO MUST FILE; CorvTErvTs. A nongovernmental corporate party must file
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning10% or more of its stock; or

              (2)     states that there is no such corporation.

      (b) TIME To Fi~E; SUPPLEMENTAL FILING. A pal"ty f11USt:
             (1)    file the disclosure statement with its first appearance, pleading,
                    petition, motion, response, or other request addressed to the court;
                    and
             (2)    promptly file a supplemental statement if any required information
                    changes.
       Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 7 of 29


                                                                                                    APPENDIX G

                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

Joseph Manni

             V.                                                                   Civil Action
Asset Acceptance, LLC et al.                                                      NO'

                               DISCLOSURE STATEMENT FORM

Please check one box:

             The nongovernmental corporate party,
              in the above listed civil action does not have any parent corporation and
             publicly held corporation that owns 10% or more of its stock.

             The nongovernmental corporate party, Asset Acceptance, LLC
              in the above listed civil action has the following parent corporations) and
             publicly held corporations) that owns 10% or more of its stock:

              Encore Capital Group, Inc., apublicly-traded corporation, owns 10% or more of Midland Funding, LLC's stock




      ~ ►s                                                         ~.~.                    ~
      D to                                                             Signatur

                                Counsel for; Asset Acceptance, LLC


Federal Rule of Civil Procedure 7.1 Disclosure Statement
     (a)    WHQ MUST FILE; CorvTErvTs. A nongovernmental corporafie party must file
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning10% or more of its stock; or

             (2)      states that there is no such corporation.

      (b) TIME To Fi~~; SUPPLEMENTAL FILING. A pally IlIUSt:
             (1)    file the disclosure statement with its first appearance, pleading,
                    petition, motion, response, or other request addressed to the court;
                    and
             (2)    promptly file a supplemental statement if any required information
                    changes.
    Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 8 of 29




          IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
JQSEPH MANNI,
                              Civil Action No.
              Plaintiff,
    vs.

ASSET ACCEPTANCE, LLC,
MIDLAND FUNDING, LLC AND
FULTON, FREIDMAN AND
GULLACE, LLP
                   Defendant.

                         NOTICE OF REMOV.

      PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. ~ 1441(b)

and 28 U.S.C. ~ 1331, Defendants, Asset Acceptance, LLC (hereinafter

"Asset")   and Midland Funding,     LLC   (hereinafter   "MF")(collectively

"Defendants), by and through its counsel, Marshall Dennehey Warner

Coleman 8s Goggin, P.C., hereby removes the action captioned as Joseph

Manni v. Asset Acceptance, LLC, docket no. 30043-2014, as filed in the

Court of Common Pleas for Montgomery County, Pennsylvania ("the

Action"), to the United States District Court for the Eastern District of

Pennsylvania, based upon the following:

      1.    On or about December 5, 2014 Plaintiff filed the Action in

the Court of Common Pleas for Montgomery County, Pennsylvania. A

true and correct copy of Plaintiffs Complaint in the Action is attached

hereto as Exhibit "A."

      2.    MF first received notice of the Action on December 9, 2014,

when it was served with Plaintiffs Complaint.



                                    1
     Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 9 of 29



      3.     Based on the foregoing, MF has timely filed this Notice of

Removal within thirty days of being served with the Complaint and

within thirty days of the date that the Action 'was first removable. See 28

U.S.C. ~ 1446(b).

      4.    The Action is a civil action of which this Court has original

jurisdiction under 28 U.S.C. ~ 1331, and is one which may be removed to

this Court by Asset pursuant to the provisions of 28 U.S.C. ~ 1441(b), in

that Plaintiff has alleged that MF violated the Fair Debt Collections

Practices Act, 15 U.S.C. ~ 1692, et seq., thereby asserting claims that

arise under federal law.

      5.    In that the causes of action alleged by the Plaintiff arise from

the performance of obligations of the parties within Montgomery County,

Pennsylvania, the United States District Court for the Eastern District of

Pennsylvania should be assigned the Action.

      6.    Counsel for Asset and MF has spoken with Cynthia Fulton,

counsel for co-defendant Fulton, Freidman and Gullace, LLP, who has

consented and concurred to the removal of this action to the United

States District Court for the Eastern District of Pennsylvania.

      7.    Pursuant to 28 U.S.C. ~ 1446(d), MF will file a copy of this

Notice of Removal with the Clerk of the United States District Court for

the Eastern District of Pennsylvania, will serve Plaintiff with copies of

this Notice of Removal and will file the Notice of Removal in the

Montgomery County Court of Common Pleas.
   Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 10 of 29




      WHEREFORE, Defendants, Asset Acceptance, LLC and Midland

Funding, LLC notifies this Court that this Action is removed from the

Court of Common Pleas for Montgomery County, Pennsylvania to the

United States District Court for the Eastern District of Pennsylvania

pursuant to the provisions of 28 U.S.C. ~~1331, and 1446.



                              Respectfully submitted,

                              MARSHALL DENNEHEY WARNER
                              COLEMAN & GOGGIN, P.C.

                         By:. C
                              Lawrence J.    rtel, ESQUIRE
                               2000 Market Street, Suite 2300
                              Philadelphia, PA 19103
                              (215) 575-2780 / (215) 575-0856 (fl
                              Ljbartel@mdwcg.com
                              Attorneys for Defendants
                              Asset Acceptance, LLC and Midland
                              Funding, LLC


Dated: January 8, 2015




                                   3
    Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 11 of 29




           IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
DENNIS GEIGER,
                               Civil Action No.
               Plaintiff,
    vs.

MIDLAND FUNDING, LLC,
                  Defendant.

                       CERTIFICATE OF SERVICE

      I, Lawrence J. Bartel, Esquire, do hereby certify that a true and

correct copy of Defendants, Asset Acceptance, LLC and Midland Funding,

LLC's Notice of Removal was served upon the below-listed counsel of

record by regular mail on January 9, 2015:

      Vicki Piontek, Esquire
      951 Allentown Road
      Lansdale, PA 19446
      Attorneys for Plaintiff
      Joseph Manni

                                MARSHALL DENNEHEY WARNER
                                COLEMAN & GOGGIN, P.C.

                         By:
                                Lawrence J. artel, Esquire
                                Attorneys for Defendants
                                Asset Acceptance, LLC and Midland
                                Funding, LLC

Dated: January 9, 2015




                                    C!
Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 12 of 29




                 EXHIBIT' "A"
     Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 13 of 29




                            IN THE COURT OF COMMON PLEAS
                        OF MONTGOMERY COUNTY, PENNSYLVANIA
                                   CtV[L ACTION-C.AW

Joseph Manni
35 Belmar Road
Hatboro, PA 19040                                                       ... M
                           Plaintiff                                    ;'.'.;
v.                                           2014-30043                   .~.~:
                                                                     '~ ~`~}:
                                                                      ~ '~;:-: 3.~,- , ~';
Fulton, Friedman and Gullace, LLP
2345 East Thomas Road, Suite 464
Phoenix, AZ 85016                                                      c.rr      ~..,~~.,...~.,
and                                                                              ,~ ~::
Asset Acceptance, LLC                                                             ~~~'~
28405 Van Dyke Ave.
Warren, MI 48093                             Juzy Taal Demanded
and
Midland Funding, LLC
8875 Aero Drive Suite Zp0
San Diego, CA 92123
and
X,X, Z Corporations
                            Defendant

                                        NOTICE

      YOU HAWS BEEN SUED IN COURT. IF YOU WISH TO DEFEND AGAINST THE
CLAIMS SET ~QRTH IN THE FOLLOWING P.A.GES, YOU MUST TAKE ACTION WITHIN
TWENTY (20) DAYS AFTER THE COMPLAINT AND NOTICE ARE SERVED BY
ENTERING A WRITTEN APPEARANCE PERSONALLY 4R BY ATT(}RNEX AND
FILING 1N WRITING WITH THE COURT YOUR DEFENSES OR OBJECTIONS TO THE
CLAIMS SET FORTH AGAINST YOU. YOU ARE WARNED THAT Ir YOU FAIL TO DO
SO THE CASE MAY PROCEED WITHOUT YOU AND A JUDGMENT MAYBE ENTERED
AGAINST YOU BY THE COURT WITHOUT 'FURTHER NOTICE FOR ANY MONEY
CLAIMED OR FOR ANY OTHER CLAIM OR RE~,IEF REQUESTED BY THE
DEFENDANT.       YOU MAY L45E MONEY OR PROPERTY OR OTHER RIGHTS
IMPQRTANT TO YOU.


      See Next Page »»»»»»»»»»»»»»»»»»»»»»»»»»
    Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 14 of 29




     ~'OU SHOULD TAKE .THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER 4R CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWXER.



                       LAWYER REFERENCE SERVICE
                MUNTG4MERY COUNTY BAR ASSOCATI4N
             100 West Airy Street (REAR), NORRTST(7'VVN, PA 194Q1
                        (61D) 279-9660, EXTENSION x,02

                    Montgomery County Legal Aid Services
                    d2S Swede Street, Norristown, PA 19441
                                610-275-5400
     Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 15 of 29




                               IN THE COURT OF COMMON PLEAS
                           OF MONTGOMERY COUNTY, PBNNSYI~VANIA
                                      CIViL ACTION-LAW
Joseph Manni
35 Belmar Road
Hatboro, PA 19040
                            Plaintiff
v.                                                   2014-30043
Fulton, Friedman and Guliace, LLP
2345 East Thomas Road, Suite 460
Phoenix, AZ 85016
and
Asset Acceptance, LLC
2$445 Van Dyke Ave.
Warren, MT 48093                                     Jury Trial Demanded
atld
Midland Funding, LLC
8875 Aero Drive Suite 200
San Diego, CA 92123
and
X,Y, Z Corporations
                            Defendant

                                         CQMPLAINT
   1. This is a lawsuit for damages brought by an iuidividual consumer for Defenclant(s}'

       alleged violations of the Fair Deb# Collection Practices Act, 15 U.S.C. 1692, et seq.

       (hereinafter "FDCPA").


   2. Defendants) regularly transacts) business throughout the Commonwealth of

       Pennsylvania, and in this jurisdicCion, and therefore obtains the benefits) of

      regularly transacting business in this jurisdiction.



   3. Plaintiff resides in this jurisdiction,
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 16 of 29




4. Flainti#f is Joseph Manni an adult individual with a current address of 35 BELMAR RD,

   HATBORO PA 19040,



5. Defendants   aze
                      tlae following individuals and business entities.


       a.     Fulton, Friedman and Gullace, LLP, 2345 East Thomas Raad, Suite 460,

              Phoenix, AZ 85016.



      b.      Asset Acceptance, LLC, a business entity with a principle place of business of

              284Q5 Van Dyke Avenue, Waxren, MI 48093.



       c.     Midland Funding, LLC, a business entity with. a mazling address of 8$7S Aero

              Drive Suite 200, San Diego, CA 92123



      d.      X,Y,Z Corporations, business identities whose identitiies are nat know to

              Plaintiff at tltiis time, but which will hecorne known upon proper discovery. It

              is believed and averred that such entities played a substantial role in the

              commission of the acts described in this carnplaint.
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 17 of 29




             COUNT ONE: Violation of Fair Debt Collection Practices Act
                             15 USC 1692 et. seq.


6. Ail previous paragraphs of #his complaint axe incorporated by reference and made a part

   of this portion of the complaint.



'7, At all times mentioned in this Complaint Plaintiff was a consumer debtor as defined by

   the Fair Debt Collections Practices Act (FDCPA}, 1S USC 1692 et. Seq.



8. At all times mentioned in this Complaint ,Defendant was a debt collector as defined by

   the FDC~'A, 15 USC 1692 ef. seq.



9. At all times mentioned in this Complaint, Defezxdants, Fulton Friedman and Gullace,

   LLP, Asset Acceptance, LLC and Midland Funding, Inc. were attempting to collect on an

   alleged consumer debt against Plaintiff:



10. The alleged consumer debt that Defendants were attempting to collect from Plaintiff was

   for Plaintiff's personal and household purposes:.
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 18 of 29




11. The alleged consumer debt tk~at Defendants were attempting to collect from Plaintiff was

    :for a judgment in favor o#'Asset Acceptance, LLC that stemmed from a Dell Financial

    accownt for Plaintiff's personal and household purposes. The account which was the

    subject of the judgment was being serviced by Midland Funding, Inc. Fulton Friedman

    and Gullace was collecting on behalf of both Midland Funding, Inc. and Asset

    Acaeptazice.



12. On ar about January 29, 2014, Defendant Asset Acceptance, LLC through it's agent

   employee or representative Rulton, Friedman and Gullace, LLP accessed Plaintiff's

   consumer report from Experian Information Solutions, Inc. a consumer reporting agency

    {CRA) as defined by 15 iJSC 1681a et. seq. See attached eachibits.



13. The Experian report that Defendant Fulton, Friedmaz3 and Gullace, LLP accessed

   pertaining to ~'laintiff was a consumer report as defined by 15 USC lb8ia and 1681b of

   the FCRA..



14. At all times rnentior~ed in this Complaint Fulton, Friedman and Gullace, LLP ~c~vas acting

   as azz agent of Defendant Asset Acceptance, LLC.



1S. At all times mentioned in this Complaint Fulton, Friedman and Gullace, LI,P was acting

   as an agent of Defendant Midland Fw~:ding, Inc.
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 19 of 29




16. Defendant Fulton, Friedman and Gullace, LLP had a permissible lawful purpose to

    obtain Plaintiff s consumer report.



17. However, when Defendant Fulton, Friedman and Gullace, LLP obtained Plaintiff's

    consumer report, Fulton, Friedman and Gullace, LLP caused what is colloquially xeferred

    to as a "hard inquiry" to be miade against Plaintiffs consumer report. A "hazd Inc~uiay"

    aocurs when the consumer's report is accessed in such a way as to appear that the

    consumer initiated the transaction. A "hard inquiry" is viewable by potential lendexs;

   employers, insurers or other persons or entities who have a permissible purpose to access

   the consumer's report. A "hard inquiry" usually remains on a consumer's consumer

   report for 24 months from the date of the iuiquiry. A hard inquiry usually has a negative

   affect on a consumer's credit scare.



18. A "soft inquiry" is where a person or entity accesses the consumer's consumer report in

   such a way that potential lenders, employers, insurers or other persons ar entities having a

   permissible purpose to access the consumer's consumer report do not see the inquiry. A

   "salt" inquiry also does not affect the consumer's credit score.



19. 'The inquiry that occurred by Fulton, Friedman and Gullace, LLP ,was viewable on

   Plaintiff s consumer report to potential lenders, employers, insurers arzd other persons or

   entities that have a permissible purpose to obtain Piaintif~'s consumer report, and is likely

   to renrzain sa on Plaintiffs aansurner report fro 24 months from the date of such inquzzy.
   Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 20 of 29




20. It is believed amd averred that the inquiry that occurred by Fulton, Friedman and Gullace,

    LLP had a negative affect on PIaintiff's consumer report.



21. It is believed and averred that at the time that Fulton, Friedman and Gullace, LLP

    accessed Plaintiffs consumer report on behalf of Asset Acceptance, LLC and Midl~d

    Funding, Inc., Friedman and Gullace, LLF knew ar.should have knpwn that the inquiry

    would be a "hard inquiry," and not a "soft inquiry."



22. It is believed and averred that at all times mentipned in this Complaint, Defendant

    Friedman and Gullace, LLP bad the discretion and ability to cause Plaintiffls consumer

    report to be accessed as a "soft inquiry" as opposed to a "hard inquiry."

23. It is believed a~td averred that Defendant Friedman and Gullace, LLP had the discretion

    and ability to cause Plainti~F's consumer report to be accessed as a "soft inquiry" as

    opposed to "hard inquiry."



24. It is believed and averred that Defendant Friedman and Gullace, LLP had a duty to take

   reasonable measures so that Plaintiff's consumer report was not unnecessarily accessed

   as a "hard inquiry."



25. Defendant Friedman and Gullace, LLP did not take reasonable steps to access Plaintiffs

   consumer report as a "soft inquiry" as opposed to a "hard inquiry."
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 21 of 29




26. Defendant ~xiedman and Gullace, LLP behaved with reckless or conscious disregard for

    the manner and consequences in which it accessed Plaintiff's consumer report on behalf

   of Asset Acceptance, LLC and Midland Funding, Inc.



27. The natural consequences of how Defendant accessed Plaintiff's consumer report was to

   haxass and oppress Plaintiff in violation of 15 USSC 1692d of the FDCPA,



28. The manner in which Friedn:ian and Gullace, LLP accessed Plaintiff's consumer report

   was unconscionable in violation 15 USC 1692E of the FDCPA,
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 22 of 29




                                         LIABILITY

29. All previous paragrapkzs of this complaint are incorporated by reference and made a part

    of this complaint.



30. At all times mentioned in this Complaint, Friedman and Gullace, LLP was acting as an

    agent of Defendant Asset Acceptance, LLC and Asset Acceptance is therefore liable to

    Plaintiff for all .of the above described FDC~'A violations of Friedman and Cxullace, LLP

   under the theory of agency and respandeat saperior. See Moses v. Law Off ce of

   Harrison Ross Byck, P.C. and CACH, LLC, United Stated District Court for the Middle

   District of Pennsylvania, 08 cv 1939, Aug. 4, 2009; also see Martsolf, 'v. JBC Legal

   Gxoup, P.C., and Outsource Recovery Management, U.S: District Court for the Middle

   District of Pennsylvania, 04-CV-1346, 2Q08.



31. At all times mentioned in this Complaint, Friedman and Gullace, LLP was acting as an

   agent of De~entiant Midland Funding, Inc, and Midland Funding, Inc, is therefore liable

   to Plaintiff for all of the above described F'DCPA violations of Friedman and Gullace,

   LLP under the theory o~ agency and respvndeat superior. See Moses v. Law Office of

   Harrison Ross Byck, P,C, and CACH, LLC, United Stated District Court for the Middle

   District of Pennsylvania, 48 cv 1939, Auk. 4, 2009; also see 1Vlartsolf, v, JBC Legal

   Group, P.C,, and Outsource Recovery Management, U.S. District Court far the Middle

   District of Pennsylvania, 04-CV-1346, 2008.
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 23 of 29




32. Any mistake made by Defendant Fulton, Friedman and Gullace, LLP would have

   included a mistake of law.



33. Any mistake made by Defendant Fulton, Friedman and C~ullace, LLP would not have

   been a reasonable ox bona ode mistake.
  Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 24 of 29




                                           DAMAGES

34. All previous paragraphs of this compla;~nt are incorporated by.



35. Plaintiff believes and avers that Plaintiff is entitled to at lease $I.00 actual damages for

    PIaintiff, including but not limited to phone, fax, stationary, pos#age, etc.



36. Plaintiff believes and avers that Plaintiff is entitled to $1,000.00 statutory damages

    pursuant to 15 USC 1692k, or other amount determine by this Honorable Court.



37. It is believed and averred that the above referenced $1,Q00.00 statutory damages is per

    Defendant, for a total of $3,000.00 statutory damages, or other amount determined by this

    Honorable Caurt. The total amount of statutory damages being sought is $3,004, at a rate

    of $1000 per Defendant, an d there are 3 Defendants.



38. Plaintiff suffered emotional distress, anger, frustration and confusion as a result of the

   FDCPA violations) described zn this Complaint.



39. The amount of such emotional distress shall be determined at trial.



40. For purposes of a default judgment, Plaintiff believes and avers that such distress has a

   Dollar value of na less than $10,000.0.
   Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 25 of 29




                                     ATTQRNEY FEES



 4~. All previous paragraphs of this complaint are incorporated by reference and made a part

    of this complaint.

42. Plaintiff is entitled to reasonable attorney fees puz~suant to 15 USC 1692 k of the FDCPA.

43. Plaintiff believes and avers that the hourly rate for such attorney fees is $350.00 per hour

    ox other ra#e that this Honorable Court may determine.

44. Plaintiff believes and avers that such attorney fees amount to no less than $1,750.00 at a

    rate of $354.04 per hour, enumerated below.

a. Const~tation with client, zeview of file, drafting of letters                 1
b. Drafting, editing, review, filing and service of complaint and
   related documents                                                             2
c. Follow up contact with Defense and client                                     2


                                                                   5 x $350 = $1,750



45. Plaintiff s attorney fees continue to accrue as the case moves forward.



46. 'Tk~e above stated attorney fees are for prosecuting this matter and reasonable follow up.
   Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 26 of 29




                                        OTHER RELIEF



47. All previous paragraphs of this complaint are incorpoxated by reference and made a path

    of this portion of the complaint.



~8. Plaintii~' seeks injunctive relief barring .further unlawfizl collection activity.



49. Plaintiff seeks such other relief as this Honorable Court may deem just and proper.



50. Plaintiff requests / demands a jury trial in this matter.



51. Plaintiff demands fees and costs for prosecuting this action.
      Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 27 of 29




        Wherefore, Plaintiff demands judgment against Defendant{s) in the amount of no less

    than $14,751.00 as enumerated below, or such other amount as the Honorable Court deems

    just aaad fair.

        $1.00 mare or less actual damages.

        $3,000.00 statutory damages pursuant to 15 USC 1692k et. seq.

        $1,750 attorney fees

        $10,000,00 emo#zonal distress


                 $14,751




        Plaintiff seeks such additional relief as the Court. deems just and proper.




~v ~,::. ~i ~~~'~r ~r~               11 a.~ ~
Vicki Piontek, Esquixe                 Date
Supreme Court ID Number 83 SS9
Attorney for Plaintiff
95I Allentown Road
Lansdale, PA 19446
877-737~86Y7
Fax:866-408-6735
pataw@justice.com
      Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 28 of 29




                                  TN ~'HB ~UURT OI' COMMON ~'L~AS
                              OP MON'T(90MERY COUN['Y~ PENNSXi.VANIA
                                          CYVIL AC'ITONLAW
Jaseph ~+ianni
35 Ba~naar Road
Hathora, PA I9U40
                                  Plaintiff
 v.                                                        244-3U043
Fulton,Frleclman and Crullace> LLP
?.345 Eas#Thomas Road, Suite 46U
Phoenix, A~ 85416
and
As~eY I~ccvpta~e, UGC
284QS Vea~ l7yke Ave.
Warren.,, M~ A~8093                                        lazy ~'xial ~emandsd
and
Midland ~ct~g.LLC
8875 Aer~ L)rive Suite 2fl0
Sinn Diego, CA 9212
and
X,Y,. Z.~rpnta~tnas.

                                              VERIFICAT~UN

I, ddsep~ ~+ian~zi, ~~a~►e xead the attas.~ecX ~ampl~igt. Tie Sects stated.t~iexEia arc .trams. aad.cvrncct

try ~f~t~ Est csf z~~ ~aowlsc~a;undorsi~ndiu~~~beiief.
                Case 2:15-cv-00099-ER Document 1 Filed 01/09/15 Page 29 of 29
                                                              F.r~erian - Repat 8u►+marY
Oot 2812: S17,S91/ Septstrber ~6, 201~ f $554 J $557
Sep 2x12' 517,991 / 3gptetrber 28~ 2092 f $6541$557
At►g Z01x ita,495 t August 81, 2d1~ / ~6b4!t560
,lug 2012: $19,305 /duly 8.201Z 1$55415557
Jun 2012: $19,732 !June 6, 2812 J x56415563


Ttat arl~d annunt of the account w as 532~5~9




R~aord of Requests for Your Credh History

Inquiries Shared Wkh t'~thers


We meloe your c~dcl~ t~s►6o~y eva~b(e tia your current ar~d ~peCttve cr~cl~ors and errpla~►ers as ~tbw ed by lew.
      n may flat these tngc~iries for up !o tw o years.
The section beer I is e9 at the comparstee that have requeaated your credo hletory ss a resin of action yop tool4 s oh as
app~+tn8 for ared~ ar f~natn~ or as a regua of. e oei~tbn. Tha inqutrles in ftt~ secticn are shared wNh coorrpanles chat
receive your crept h~tary.



  CNASE
   Address:                                                         Date of Request:
  PO BOX 15298                                                      08/84lZ014
  W4:MB~T~OPf i~ 15298
  {800)855.980
  Address irlent~tication Alumber.
  (f038810820
  Comments:
  tJ~sped(ted. lids tnqu'~y is acheduted to oorttinue an record urdd.~d 2018,




  FULTON, FRIEOMAN 8~ C~iULLA
  Address:                                                 Date of Request:
 Po pox x 23                                               o~r~v2aia
 WAEiR~I M 48090
 (8Tl) 486.4798
 Address ldeniifrcation Number:
 Q0388?0820

 Comments:
 Auto wen. Th~ inqu#y is scheduled to continue on rQcard unt9 ~ 2016.




 3PRINGL.EAF FINANCIAL. SER
